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                                                                        United States District Court
                    UNITED STATES DISTRICT COURT                          Southern District of Texas

                     SOUTHERN DISTRICT OF TEXAS                              ENTERED
                        GALVESTON DIVISION                               September 23, 2021
                                                                          Nathan Ochsner, Clerk
                                         §
                                         §
SHERIFF BRAD COE, ET AL                  §
                                         §     CIVIL ACTION NO. 3:21-cv-168
VS.                                      §
                                         §
JOSEPH R. BIDEN, JR., ET AL              §
                                         §


                        DOCKET-CONTROL ORDER

This case will be controlled by the following schedule:

                                  DEADLINES

1. 10/1/2021    DEADLINE TO AMEND THE PLEADINGS. Parties may
                amend pleadings by this date without leave of court, but only in
                compliance with Rule 6 in Judge Brown’s procedures. If the
                plaintiff(s) file(s) an amended complaint by this date, the
                defendant(s) may file a responsive pleading in accordance with
                Fed. R. Civ. P. 15(a)(3). After expiration of this deadline, a party
                seeking to amend a pleading must file a motion for leave
                demonstrating both good cause and excusable neglect in
                accordance with Fed. R. Civ. P. 6(b)(1)(B).

2. 10/1/2021 DEADLINE TO ADD NEW PARTIES. Unless a case has been
             removed from state court, new parties may be added by this date
             without leave of court. After the expiration of this deadline, a party
             seeking to add a new party must file a motion for leave
             demonstrating both good cause and excusable neglect in
             accordance with Fed. R. Civ. P. 6(b)(1)(B). The attorney causing
             the addition of new parties will provide copies of this order and all
             orders previously entered in the case to new parties. Note: If a
             case has been removed from state court, a motion for leave must
             be filed seeking permission to add new parties.

3. 6/3/2022     Identification of plaintiffs’ experts and production of experts’
                reports in the form required by Fed. R. Civ. P. 26(a)(2)(B).

4. 7/8/2022     Identification of defendants’ experts and production of
                experts’ reports in the form required by Fed. R. Civ. P. 26(a)(2)(B).
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5.   9/23/2022 COMPLETION OF DISCOVERY. Written discovery requests
                are not timely if they are filed so close to this deadline that the
                recipient would not be required under the Federal Rules of Civil
                Procedure to respond until after the deadline.

6.   9/30/2022 DISPOSITIVE MOTIONS.

7.   11/18/2022 ALL OTHER PRETRIAL MOTIONS.

8.   1/6/2023   EXCHANGE PRETRIAL MATERIALS. Parties should
                exchange and begin to confer on motions in limine, exhibit lists,
                and deposition designations.

9.   1/13/2023 DOCKET CALL is set at 9:30 a.m. All Pretrial Filings (exhibit
                list, witness list, etc.) required under Rule 11 of the Galveston
                District Court Rules of Practice must be filed at least one day
                before this date. At docket call, the court may announce rulings on
                any pending matters, the case will be set for trial on a date
                certain within the next 60 days, and further pretrial orders
                may be issued.

 SIGNED on Galveston Island this 22nd day of September 2021.




                                     ______________________________
                                             ANDREW M. EDISON
                                      UNITED STATES MAGISTRATE JUDGE
